   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-12844
                                         * * * ICRS CONFIDENTIAL * * *

        To: KURKOWSKI, PATRICK R. - #542962
            UNIT: _N-_D -- _D37-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     08/28/2023
           Date Complaint Received:         08/28/2023
           Subject of Complaint:        12 - Other

           Brief Summary:               complains he did not receive recreation that week of 8/21/23

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: August 29, 2023                                 Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                           EXHIBIT
                     Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 7 Document 32-61005 - 1
   DEPARTMENT OF CORRECTIONS                                                                                             WISCONSIN
   Department of Adult Institutions                                                                                Administrative Code
   DOC-402 (Rev. 04/18)                                                                                              Chapter DOC 310

                                                 ICE REJECTION
                                      COMPLAINT NUMBER WCI-2023-12844
                                         * * * ICRS CONFIDENTIAL * * *


        To: KURKOWSKI, PATRICK R. - #542962
            UNIT: _N-_D -- _D37-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information: REJECTED


         Date Complaint Acknowledged: 08/28/2023                                              Inmate Contacted? No

         Date Complaint Received:           08/28/2023

         Subject of Complaint:             12 - Other

         Document(s) Relied Upon:          DOC 310

         Brief Summary:                    complains he did not receive recreation that week of 8/21/23

         Rejection Comment:                TM Inmate complains he did not receive recreation the week of 8/21/23 and
                                           the SCH and the NWCH did.

                                           On 8/25/23 recreation was started in the NWCH but do to an emergency
                                           recreation was closed. No cell halls received recreation on 8/25/23. His cell hall
                                           is also not the only cell hall to not receive recreation the week of 8/21/23. Due
                                           to heat indexes of over 100 degrees no cell halls attended recreation. From
                                           DOC 310.06 Scope of complaint review system, "(1) An inmate may use the
                                           ICRS to raise issues regarding policies, rules, living conditions, or employee
                                           actions that personally affect the inmate or institution environment." After
                                           review of the submission, the complaint is rejected in accordance with DOC
                                           310.10(6)(c) which states: "(c) The issue lacks merit or is otherwise frivolous."

         Rejection Code:                   Complaint lacks merit or is otherwise frivolous.
         Decision Date:                   08/28/2023




                                           T. Moon - Institution Complaint Examiner
          Per DOC 310.10(10), you may appeal the rejection of this complaint within 10 days to the appropriate reviewing
          authority. The reviewing authority will only review the basis for the rejection of this complaint, not the merits of
          the complaint.

          If you wish to appeal, complete form DOC 2182 Request for Review of Rejected Complaint and send to:

Print Date: August 29, 2023                                    Page 1 of 2                          Institution Complaint Examiner's Office
                                                        ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 2 of 7 Document 32-61005 - 2
   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-402 (Rev. 04/18)                                                                                          Chapter DOC 310

                                                 ICE REJECTION
                                      COMPLAINT NUMBER WCI-2023-12844
                                         * * * ICRS CONFIDENTIAL * * *


        To: KURKOWSKI, PATRICK R. - #542962
            UNIT: _N-_D -- _D37-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information: REJECTED


                      INSTITUTION COMPLAINT EXAMINER
                      WAUPUN CORRECTIONAL INSTITUTION
                      200 S. MADISON STREET
                      P. O. BOX 351
                      WAUPUN, WI 53963-0351

          The reviewing authority's decision is final pursuant to s. DOC 310.10(10), Wis. Adm. Code.




Print Date: August 29, 2023                                 Page 2 of 2                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 3 of 7 Document 32-61005 - 3
                                                                                                        GENERAL REPORT
                                                                                                          WCI-2023-12844
                                                 State of Wisconsin
                                                   Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        August 28, 2023
              Date Complaint Received:         August 28, 2023
              Subject of Complaint:          12 - Other

              Brief Summary:                 complains he did not receive recreation that week of 8/21/23

        ICE Rejection Information:      (Signed on 8/28/23 3:00:49PM):
              Document(s) Relied Upon:       DOC 310
              ICE's Summary of Facts:        TM Inmate complains he did not receive recreation the week of 8/21/23 and
                                             the SCH and the NWCH did.

                                             On 8/25/23 recreation was started in the NWCH but do to an emergency
                                             recreation was closed. No cell halls received recreation on 8/25/23. His cell
                                             hall is also not the only cell hall to not receive recreation the week of 8/21/23.
                                             Due to heat indexes of over 100 degrees no cell halls attended recreation.
                                             From DOC 310.06 Scope of complaint review system, "(1) An inmate may
                                             use the ICRS to raise issues regarding policies, rules, living conditions, or
                                             employee actions that personally affect the inmate or institution
                                             environment." After review of the submission, the complaint is rejected in
                                             accordance with DOC 310.10(6)(c) which states: "(c) The issue lacks merit
                                             or is otherwise frivolous."

              ICE's Recommendation:          Rejected - Complaint lacks merit or is otherwise frivolous.
              ICE's Recommendation Date: August 28, 2023




Print Date: January 03, 2024                                  Page 1 of 1
                                                      ** ICRS CONFIDENTIAL **
                                                                          EXHIBIT
                    Case 2:23-cv-01430-WED Filed 03/25/24 Page 4 of 7 Document 32-61005 - 4
                                                                                                                                             State of Wisconsin
                                                                                                                                              Department of Corrections

                                                                                                                                        DISTRIBUTION ITEMS
                                                                                                                                for COMPLAINT NUMBER WCI-2023-12844
                                                                                  Item                          Create Date           Created By          Sent To            Inmate ID          Print Date             Printed By
                                                                          ICE Receipt                    08/28/2023 2:58:40PM   Tonia Moon               WCI                   542962    08/29/2023 2:24:40PM   Brian Kolb
                                                                          ICE Rejection                  08/28/2023 3:00:49PM   Tonia Moon               WCI                   542962    08/29/2023 2:24:41PM   Brian Kolb




Case 2:23-cv-01430-WED Filed 03/25/24 Page 5 of 7 Document
                                                      EXHIBIT
                                                           32-61005 - 5
                                                                          Print Date: January 03, 2024                                                    Page 1 of 1
                                                                                                                                                   ** ICRS CONFIDENTIAL **
                                                      EXHIBIT
Case 2:23-cv-01430-WED Filed 03/25/24 Page 6 of 7 Document    1005 - 6
                                                           32-6
                                                     EXHIBIT
Case 2:23-cv-01430-WED Filed 03/25/24 Page 7 of 7 Document    1005 - 7
                                                           32-6
